                                                                      (SPACE BELOW FOR FILING STAMP ONLY)
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 5      ATTORNEYS FOR Defendant,
                         MANUEL ALEJANDRO GARCIA
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                          Case No.:     11-CR-00354 LJO
11                   Plaintiff,
                                                               STIPULATION TO CONTINUE
12                                                                   SENTENCING
             vs.                                                         AND
13                                                                     ORDER
14    MANUEL ALEJANDRO GARCIA,
15                   Defendants.
16   TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S OFFICE
            and/or ITS REPRESENTATIVES:
17
18          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
19   clients that the Sentencing hearing currently on calendar for October 15, 2013, at 8:30 a.m., be
20   continued to November 19, 2013, at 8:30 a.m., or as soon thereafter as is convenient to the court’s
21   calendar.
22          IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
23   objections to the Pre-Sentence Investigation Report be scheduled as follows:
24                   Informal Objections to be served on or before October 26, 2013
25                   Formal Objections to be filed on or before November 12, 2013.
26          This continuance is requested by counsel for Defendant, MANUEL ALEJANDRO GARCIA,
27   due to the fact that counsel needs additional time to file informal objections to the Probation Report.
28          Specifically, Probation has recommended a two-level increase for a weapon. Defendant
     disputes that a weapon was involved in the transaction.
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 1            It is necessary to review the discovery to isolate those portions of the discovery, which
 2   includes reports and audio recordings, of the alleged conversations in order to prepare the informal
 3   objections, along with evidence.
 4            Counsel for Defendant has spoken with Assistant U. S. Attorney, KIMBERLY SANCHEZ,
 5   who has no objection to this continuance.
 6   Dated: September 26, 2013.            Respectfully Submitted,
 7                                         NUTTALL & COLEMAN
 8                                          /s/ Mark W. Coleman
 9
                                           MARK W. COLEMAN
10                                         Attorney for Defendant,
                                           MANUEL ALEJANDRO GARCIA
11
12   Dated: September 26, 2013.            UNITED STATES ATTORNEY’S OFFICE
13                                          /s/ Kimberly Sanchez
14
                                           KIMBERLY SANCHEZ
15                                         Assistant U.S. Attorney
16
                                                 *******
17
                                                 ORDER
18
              IT IS SO ORDERED.
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     Dated:      September 26, 2013               /s/ Lawrence J. O'Neill   B9ed48
20                                                UNITED STATES DISTRICT JUDGE
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